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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 CMC MATERIALS, INC.,                            )
                                                 )
                Plaintiff,                       )
                                                 )     C.A. No. 20-738-JLH
        v.                                       )
                                                 )
 DUPONT DE NEMOURS, INC., et al.,                )
                                                 )
                Defendants.                      )

     DEFENDANTS’ MOTION FOR EXPEDITED BRIEFING OF ITS MOTION FOR
              CERTIFICATION OF THE MARKMAN RULING FOR
       IMMEDIATE INTERLOCUTORY APPEAL TO THE FEDERAL CIRCUIT

        Defendants (“DuPont”) respectfully request expedited briefing and resolution of its Motion

 to Certify the Court’s Order dated March 4, 2024 (D.I. 249) for immediate interlocutory appeal

 under 28 U.S.C. § 1292(b) and a temporary stay of case deadlines until such resolution. The parties

 are currently conducting expert discovery and opening expert reports are scheduled to be

 exchanged on March 20, 2024. Absent action by this Court, if any of the governing claim

 constructions in this case are modified, expert discovery, including expert reports and depositions,

 would have to be redone. To avoid potentially unnecessary expert discovery, DuPont respectfully

 requests the Court order Plaintiff to file its answering brief on March 18 and Dupont to file its

 reply brief on March 21, and temporarily stay case deadlines until resolution of the Motion.

        Pursuant to D. Del. LR 7.1.1, the subject of this motion was raised with counsel for CMC

 during a telephonic meet and confer that included Delaware counsel for all parties, and the

 parties were not able to reach agreement.
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  Dated: March 12, 2024
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